Case 4:22-cr-00430-JFH Document 433 Filed in USDC ND/OK on 01/22/24 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,

                        Plaintiff,

 v.                                                        Case No. 22-CR-430-JFH-13

 AMBER BRUMMETT,

                        Defendant.

                                     OPINION AND ORDER

       Before the Court is a motion to dismiss the superseding indictment against Defendant

Amber Brummett (“Defendant”) [Dkt. No. 120] without prejudice filed by the United States of

America (“Government”). Dkt. No. 432.

       Under Federal Rule of Criminal Procedure 48(a), “courts must grant prosecutors leave to

dismiss charges unless dismissal is clearly contrary to manifest public interest.” United States v.

Robertson, 45 F.3d 1423, 1437 n.14 (10th Cir. 1995) (quoting Rinaldi v. United States, 434 U.S.

22, 30 (1977)). Based on the facts set out in the motion, the Court concludes that dismissal of the

charges against Defendant is not contrary to the public interest, nor is it for an improper purpose.

Accordingly, the Government’s motion to dismiss should be granted.

       IT IS THEREFORE ORDERED that the Government’s motion to dismiss [Dkt. No. 432]

is GRANTED and the superseding indictment [Dkt. No. 120] is dismissed without prejudice

against Defendant Amber Brummett.

       Dated this 22nd day of January 2024.




                                                     JOHN F. HEIL, III
                                                     UNITED STATES DISTRICT JUDGE
